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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

UNITED STATES OF AMERICA, — | CR 20-32-M-DWM

Plaintiff, DECLARATION OF
Cofer Black
VS.
MATTHEW ANTHONY
MARSHALL,

Defendant.

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I, Cofer Black, in accordance with the requirements of 28 U.S.C § 1746,
declare as follows:

1. My name is Joseph Cofer Black and I reside in Great Falls, Virginia. I
am currently self-employed as a consultant and serve on three corporate boards.

2, I retired in late-2004 from a 30-year career in the U.S. Federal
government which included 28 years in the Central Intelligence Agency (CIA) and
two years in the U.S. Department of State. My service in the CIA’s Clandestine
Service included six foreign tours in field management positions. From
2002-2004, I served as Coordinator for Counterterrorism at the State Department
with the rank of Ambassador-at-Large. I received a Bachelor’s degree in 1973 and
a Master’s degree in 1974, both in International Relations from the University of
Southern California.

3. I understand from conversations with FBI Special Agent Mark Seyler
that this case involves Matthew Anthony Marshall. I do not know Mr. Marshall. I
have never met him to the best of my knowledge or communicated with him in any
way about any topic.

4. I do know John Maguire and I know Mr. Maguire worked for the CIA.
Our service at the CIA overlapped for a good part of my career but we never worked

together and contact was limited to a few, brief, chance encounters. Months ago
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and perhaps during late-2020, Mr. Maguire telephoned my cell phone. Mr.
Maguire made little sense to me as | really did not know what he was talking about
or the cause of his rather dramatic verbiage. As best I can recall from a very
unusual call, he said something to the effect that I needed to essentially vouch in a
legal sense for an individual who allegedly worked for me in the CIA. I do not
recall the name of this individual nor whether he even mentioned a name. I recall
saying something like “what are you talking about.” Ms. Mary Beth Long then got
on the call and | talked to her.

5. I know Ms. Mary Beth Long, who worked at the CIA as well as both of
us serving as volunteers on Governor Mitt Romney’s Presidential 2012 Election
Campaign. I asked Ms. Long what Mr. Maguire was talking about. In the
background I could hear Mr. Maguire loudly saying that “he” had worked in CTC,
the CIA’s Counterterrorist Center where I served as Director from 1999-2002. I
also heard Mr. Maguire say in the background say that “he (NFI)” had “taken a
bullet for us in Iraq.” Hearing this I told Ms. Long that in my time CTC did not
send people to Iraq. Mr. Maguire then said, again in the background but loudly
enough to hear, that “he” worked for “SOG” (the CIA’s paramilitary unit). I stated
to Ms. Long that CTC’s staff had expanded exponentially after 9/11 and that there
were many people by that time that I did not personally know. Ms. Long

commented that she had been in charge of large numbers of people during her time
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at the Department of Defense and understood. She ended the conversation and said
that she would take care of “it,” which I assumed to be getting a more coherent
picture. I subsequently told my wife about this strange telephone call “out of the
blue” which I found odd.

6. In March 2021, I communicated with FBI Special Agent Mark Seyler
about Mr. Marshall. Agent Seyler showed me a photograph, pasted below, of three
men in black suits posing in front of an OSS Society sign or banner. I recognize

John Maguire as the man on the far left of the photograph. I do not know or

recognize either of the other men.

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7. Agent Seyler also showed me a series of text messages that apparently
were contained on Mr. Marshall’s iPhone 8. It is my understanding that those
messages have been submitted by the government to the Court as Exhibit 51 to a
brief filed on March 26, 2021. I have reviewed the text messages and the two
phone numbers associated with them — 571-336-8565 and 703-249-6616. Ido not
recognize any of the text messages and, again, I have never communicated with Mr.
Marshall in any way, including by text message. In addition, neither of the phone
numbers referenced above have ever been associated with me. I have checked my
phone records and confirmed my numbers at those times were different than the ones
referenced above.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the
foregoing is true and correct.

Executed this / cy day of April, 2021, at Great Falls, Virginia.

LA MGM

ef Black

